                                                                               CLERK'S OFFICE U.S.DIST.COURT
                                                                                      AT ROANOKE,VA
                                                                                         ' FILED

                           IN TH E UNITED STA TES DISTRICT COURT                        FEB 22 2219
                          FOR THE W ESTERN DISTRICT OF V IRGIN IA
                                     ROAN OKE DIV ISION                            JULI
                                                                                      A C UDLEY LERK
                                                                                  BY:
                                                                                         EP       RK

    TRACEY W HEELER,                   )
                                       )              CivilA ction N o.7:17CV00337
          Plaintiff,                   )
               (                                      M EM O R AND UM O PINION
                                       )
                                       )
                                       )              By:H on.Glen E.Conrad
    COM M ON W EALTH oy VIRGINIA,:1gJ.,)              SeniorUnited StatesDistrictJudge
                                       )
         Defendants.                   )

          Tracey W heeler filed this action against the Com m onwea1th of V irginia,the Virginia

   D epartm ent of A lcoholic Beverage Control,the V irginia A lcoholic Beverage Control B oard

    (collectively,$(ABC''),àndDavidChrisley. Wheelerassertsclaimsofhostileworkenvironment
   and retaliation underTitleVIIoftheCivilRightsActof1964 (tTitleVi1'')againstABC,and
   related claim s of assault and battery againstChrisley. The case is presently before the courton

   ABC'S motion for summary jndgment.l The court held a hearing on the motion via
   teleconference on January 23,2019. The m otion has been fully briefed and is now ripe for

   review . Forthe follow ing reasons,them otion w illbe granted in partand denied in part.

                                            Backeround

          The follow ing facts are either undisputed or presented in the light m ost favorable to

   W heeler. SeeAnderson v.Liberty Lobbv,Ince,477 U.S.242,255 (1986)(emphasizing that
   Slgtlheevidenceofthenonmovantistobebelieved,anda1ljustifiableinferencesareto.bedrawn
   in(herjfavor,''whenrulingonamotionforsummaryjudgment).
          On June 9, 2014, ABC hired W heeler to w ork as a part-tim e sales associate. John

   SingletonDecl.!(5,Dkt.No.113-1.WheelerwasultimatelyassignedtoABC StoreNo.229in

          1Chrisleydidnotmoveforsummaryjudgmentontheclaimsagainsthim.


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    Bonsack, V irginia. W heeler D ep. l0, Dkt.N o. 120-1. A few w eeks after W heeler began

    w orking atthe Bonsack location,$he store m anager,Jennifer Stutts,broke herankle. StuttsD ep.

    12,D kt.N o.120-3. W hile Stuttsw as on leave,otherABC employees,including D avid Chrisley,

    fllled in forStutts. Id.12-13.

           At the tim e of W heeler's hiring, Chrisley w orked as a itrelief assistant m anager.''

    Singleton Decl.! 6. In thatsupervisory position,Chrisley would overseeaparticularstore's
    operationsw hile the m anagerorassistantm anagerwas unavailable. ld. One ofChrisley'sçtcore

    responsibilities'' was çtstaffing m anagem ent,'' w hich included assisting store m anagers with

    ççm aintaining a properly staffed operation of w age em ployees'' and Gtrecruiting, screening

    applicationsand interviewing''job applicants.Employee WorkProfile 5,Dkt.No.120-20;see
    alsoid.1(listingChrisley'spositionlevelasçtsupervisor').
           W heelerand Chrisley worked togetherfor the firsttim e at the Bonsack store in July of

    2014. W heeler claim s that Chrisley w as dlextrem ely tlirtatious'' from the start of their shift

    W heelerD ep.124. For instance,Chrisley comm ented on W heeler's attractiveness and told her

   that she EEw ould probably never be interested in som eone like him .'' Id.214. Chrisley also

   recom m ended thatcustom ers use W heeler's checkoutline because she w as çsbetter looking.'' 1d.

   A fterthey discussed the factthat standing stillcan lead to back pain,Chrisley advised W heeler

   that'he w asan EEexpertm asseuse.'' 1d.38.

           Chrisley proceeded to m ake lew d sexualrem arks and advances toward W heeler. Priorto

   the end of their shift,Chrisley told W heeler thathe ttknew Kam a Sutra''and Gswent on and on
   aboutthe best sex positions.''z 1d. 122, 124. A fter closing the store, Chrisley and W heeler

   entered a back room ,w here they w ere responsible for clocking out on a computer. W hen

   W heeler turned around after clocking out,Chrisley w as standing rightbehind her. 1d.37. He

           2<s'
              l'heKamaSutraofVatslayana(isa)widely distributed book candidly describinga largenumberof
   sexualpositions.''UnitedStatesv.Thlrtv-seven(37)Photocranhs,402U.S.363,367(1971).
                                                    2


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    pattedanearby deskanddirected Wheelertositdown.J#. Chrisleythenbegantomassageand
    pullon W heeler's fingers. 1d.41-42. W hile doing so,Chrisley's face w as (Cred and sw eatyv''

    and he w as G'breathing very hard''and m oaning. ld. 197-98. ln response,W heeler abruptly

    stodd up and pulled her hand from Chrisley's grasp. Id.44, 198-99. Because Chrisley w as

    blocking her path and appeared unw illing to let her to leave,W heeler had to physically Sspush

    pasthim ''in orderto exitthe room . 1d.44,129,199. She then retrieved herpurse and waited by

   the frontdoorofthe store untilthe alarm system w as disabled. A s soon as she was able to exit

   the store,W heeler went straightto her vehicle. 1d.45. By that poink W heeler felt Idvel'
                                                                                           y

   panicky''andhadççvomitin gherjmouth.''ld.46.
           Atthattim e,and atalltim es relevantto thiscase,ABC had a EEzero tolerance''w orkplace

    harassmentpolicy. Patrick Cam pbellD ep.37,D kt.N o.120-2;Faith Richardson Dep.40,Dld.

   N o. 120-13. The written policy listed lGseveraloptions''for reporting harassm ent, including

    speaking to any supervisor:

                  1. A n employee m ay chooseto reportallegationsofw orkplace
                     harassm entto any agency,m anager,supervisor,orDivision
                     D irectorthatthey feelcom fortablereporting to.

                  2. A n em ployee m ay also choose to reportdirectly to the D irector
                     ofHum an Resourcesorthe Em ployee RelationsM anager.

   Harassment Policy 1,Dkt.No. 113-1. The policy further provided that ttrmlanagers or
    supervisorsreceiving com plaintsofworkplace harassm enthave a duty to reportallegations''and

   that they ççm ustnotify their D ivision Director w ithin 24 hours orby close of business the next

   day.'' 1d.at1-2.

           W heeler's evidence indicates that she reported Chrisley's offending conductto several

    individuals in supervisory roles,including Stutts,the store m anager. Stutts Dep.13. W heeler

   advised Stuttsaboutthe incidentthatoccurred in the back room ofthe store and emphasized that

   shew ould notfeelcom fortablew orking w ith Chrisley again:
                                                 3

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                  g1told StuttsthatChrisley)wasveryilirtatious,thathecameonto
                  m e,thathe wasvery close to m e in speaking,that1didn'thave any
                  space.1told herthatIw asuncom fortable aboutw orking w ith him .
                  1told herthatwhen we closed and wewere Gnishing,thathe had
                  told m e m y m oney wasshortand thathe had m e siton the desk.

                  I told her that he patted the desk for m e to sitdow n there on the
                  spot,thathe began to try to m assage my hands. ltold herhe was
                  very sw eaty. He seem ed to be m aking a noise and l had to push
                  pasthim ,and 1neverw anted to w ork with him again.

    W hçelerD ep.2* 27.

           Itis undisputed that Stutts did notreportW heeler's allegations ofw orkplace harassm ent

   to herD ivision D irector,the D irectorofH um an Resources,orthe Em ployee RelationsM anager,

    asrequiredbytheharassmentpolicy.lnstead,StuttsStsimply madesuregW heelerandChrisley)
    did not w ork together''atthe Bonsack location. Stutts D ep. 15. A s a result,no disciplinary

    action wastaken againstChrisley atthattim e.

           W heeler did not work w ith Chrisley again for approxim ately two years and she ççwas

    okay w ith that.'' W heelerD ep.82. How ever,the plaintiff'sevidence indicates thatChrisley also

    engaged in inappropriate conductw ith other w om en. Seese.c.,GailDollm an Dep.16-17,D ld

   No.120-6 (ç<1haveseen customerscomplain. 1haveseencustomersleavethestorebecauseof
    (Chrisley's)...aggressiveflirting.');see also id.at21(describing an occasion on which the
   deponentobserved Chrisley giving anotherfem ale em ployee a m assage w hile the em ployee w as

    lying on atableintheback room). TheE'consensus''among managerswasthatnoneofthem
   wanted Chrisley w orking in theirstores. StuttsD ep.10-11.

           On April8 and 9,2016,W heeler and Chrisley w ere scheduled to w ork together atthe

   Bonsack store. W heelerD ep.101. W heeler learned ahead of tim e from another employee that

   sheandChrisleywouldbeworkingtogether.AlthoughW heelerGlwantedtojustcallinandmiss
   payi''she ultim ately decided to reportforw ork since otheremployeeswould bepresent. 1d.


                                                   4

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           On the first day that they w ere assigned to w ork together,W heeler's effol'ts to ignore

   Chrisley and avoid having any contactwitll him proved unsuccessful. Chrisley approached

    W heelerç&right offthe bat''and began hum m ing ûdthe Let's Talk About Sex song.'' Id.101-02.

   He then poked W heeler in her sides and back while she was unloading cases of liquor,and

   Edpullledlhisgoateedownandlickgedqhislips''whenshewalkedbyhim.ld.102,202.Chrisley
    alsocornered Wheelerin thestoreseveraltimesandsaid,tsloqoh 1a,M s.W heeler,comewith
    m e,ooh la 1a.'' ld.102,215.

           Atsome pointthe nextday,Chrisley told Wheelerthathe ffcould write (herjup right
   now .'' ld.208. W hen W heeler asked w hy,Chrisley said that she was çEshow ing too m uch

    cleavage''buthewasSçenjoylinglit.''Ll.
                                         s209.lnresponse,W heelerplacedoneofthesweaters
    she w as wearing around her shoulders like a shawl. Id. Chrisley then Gdlaughed and said,1 can

    stillw rite you up;now you're covering up your nam e badge.'' Id. A s the evening progressed,

    Chrisley becam e EEm ore agitated.'' ld.136. ln orderto avoid entering the reararea ofthe store

   w herethe em ployee restroom w as located,W heelerused the restroom ata neighboring business.

   ld. .

           The follow ing day,W heelerw as responsible foropening the Bonsack store w ith N orma

   Fortney.Ld.u
              s103.W heelerbegan cryingasthey entered thestore,and shetoldFortney whathad
   happened while working with Chrisley. ld. Fortney called Stutts,who then contacted Patrick

   Cam pbell,the regionalm anager. ld. A tCam pbell's direction,Stuttsasked W heelerto prepare a

   w ritten statem ent. ln her statement,W heeler described the incidentthat occurred in the back

   room ofthe Bonsack store in the sum m er of 2014,as w ellas herm ore recentinteractions w ith

   Chrisley. W heeler Handwritten Statem ent,D kt.N o.120-21. Cam pbellsubsequently directed

   W heeler to speak w ith Faith Richardson and CrystalStephenson from A BC'S hum an resources

   departm ent. W heelerD ep.86.

                                                  5


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           On April25 and 26,2016,Richardson and Stephenson traveled to Roanoke to conduct
    interviews as part of the investigation of W heeler's com plaint. They interview ed W heeler,

    Chrisley,and eight other ABC em ployees. On August 18,2016,Richardson and Stephenson

    issued a reportsum m arizing the results of the investigation. Investigation Report, Singleton

   D ecl.Ex.F,Dkt.N o.113-1.

           In the investigation report,R ichardson and Stephenson noted that Chrisley had adm itted

   toglvingW heeleramassagein2014.Ld.a8.BecauseChrisley wasaStmemberofmanagement''
   R ichardson and Stephenson em phasized that Chrisley (ûshould have know n that it w as not

    acceptabletogiveanemployeeamassage''andthatheçEexercisedextremely poorjudgment''in
    doing so. ld. W ith respectto the m ore recentallegations ofsexualharassm ent,Richardson and

    Stephenson reported that W heeler's claim s ttw ere not corroborated by any of the em ployees

    interviewed.'' Id. Richardson and Stephenson ultim ately recom m ended thatChrisley undergo

   counseling,a policy review ,and m andatory training,and that(tevery effort...be m ade to keep

   M s.W heelerand M r.Chrisley from w orking together.'' Id.9.

           On N ovem ber 14,2016,Campbellissued Chrisley a written counseling m em orandum for

   failing to follow the harassm entpolicy. Chrisley Counseling M em .2,Dkt.N o.120-19. Chrisley

   subsequently attended acounselingsessionwithArtriannaM orris,anadjunctfacultymemberat
   J. S'
       argeant Reynolds Com munity College. Chrisley testified during his deposition that the

   counseling sessionwas(stheclosestthing (hejgottosexualharassmenttraining,''butthathedid
   notçGlearn anything aboutsexualharassm ent in thatm eeting.'' Chrisley Dep.42,Dkt.N o.120-

    1l. Inareportissued toRichardson andCampbell,Morrisrecommended thatChrisley çtgsleek
   professionalcounseling for his anger management issues'' and çGlulnder no circumstances
   adm inisterany m ore m assageswhile atwork.'' M orrisReport2,Dkt.N o.120-32.




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          Atsom e pointthatis not clearfrom the record,Chrisley becam e the perm anentassistant

   m anagerofan A BC store in Blacksburg,V irginia. Chrisley D ep.28. In M ay of2017,Chrisley

   dlsexually harassed''a fem ale employee atthe Blacksburg store. W ritten N otice ofTerm ination

    1,Dkt.N o.113-1. Chrisley's employm entw asterm inated on June 7,2017. ld.

          W heeler Gled the instant action against A BC and Chrisley on July 18, 2017, after

   exhausting her adm inistrative rem edies w ith the EqualEmploym ent Opportunity Com m ission

   (GdEEOC''). Atthattime,W heelerwasstillemployed by ABC. ln Decemberof2017,ABC
   learned thatW heelerhad been charged with shoplifting in N ovem berof2014. Richardson Dep.

    121,Dkt.N o.120-13. ABC obtained the inform ation from an outside com pany that had been

   hired to conducta background check on M s.W heeler. ld.121- 23.Recordsfrom Roanoke City

   GeneralDistrictCourtindicate thatW heeler entered a plea ofguilty to the charged offense,that

   shereceivedajailsentenceof30dayswith26dayssuspended,andthatshewasassessed atine
   and courtcosts. V a.U niform Sum m ons,D ld.N o.113-8;see also Roanoke City GeneralD istrict

   Court Online Case lnform ation System , Case N o. G C14029591-00, available at

   hûps://eapps.couls.state.va.us/gdcouds.

          0n January 14, 2018,ABC term inated W heeler's employm ent. Chase Thurm an, who

   had replaced Cam pbellas regionalm anager,articulated the follow ing basisforthe decision in a

   w ritlen counseling m em orandum :d1M s.W heeler perform ed an illegalactthat involved theftso

   she could not continue em ploym ent w ith ABC. There is a risk of exposure to the A gency to

   continue to have herw ork in aposition thatrequires cash handling.'' W heelerCounseling M em .

   1,jingletonDecl.Ex.L,Dkt.No.113-1;seealsoW ageEmployeeHandbook7,SingletonDecl.

   Ex.J,Dkt.No.113-1(GExamplesofbehavior,whichmayresultinremoval,mayinclude,butare
   notlimited to ...(cjriminalconvictionsforillegalconductoccurring on oroffthejob that
   clearly are related to job performance ....''). Since January 1,2014,atleasteightother
                                                 7

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    ipdiyiduals have been tenuinated by ABC after being convicted ofa felony orm isdemeanor

    offense.SingletonDecl.!16.
                                         ProceduralH istorv

           W heelertsled an am ended com plaint on February 23,2018. ln Count 1ofthe am ended

    complaint,W heelerclaimsthatshe was subjected to a sexually hostile work environmentin
    violation of Title VI1. In Count I1, W heeler asserts claim s of assault and battery against

    Chrisley. In Count111,W heelerclaim s thatA BC term inated her em ploym ent in retaliation for

   engaging in activity protected by Title VII.

           OnOctober23,2018,ABC movedforsummaryjudgmenton Countsland111.Thecourt
   held ahearing on the m otion on January 23,2019. The m otion has been fully briefed and isripe

   forreview .

                                        Standards ofR eview

           Rule56 oftheFederalRulesofCivilProcedure providesthatEdgtlhe courtshallgrant
   summaryjudgmentifthemovantshowsthatthereisnogenuinedisputeastoany materialfact
   and themovantisentitledtojudgmentasamatteroflaw.'' Fed.R.Civ.P.56(a). In deciding
   whether to grant a motion for summary judgment,the courtmust çtviewlj the facts and
   reasonable inferences drawn therefrom in the light m ost favorable to the nonm oving party.''

   W oollardv.Gallacher,712F.3d 865,873 (4th Cir.2013). Towithstand asummaryjudgment
   motion,thçnon-movantmustproducesufficientevidence from which areasonablejury could
   return a verdictin herfavor.Anderson,477 U .S.at248.

                                             Discussion

           1.     H ostile W ork Environm ent

          Title V11 prohibits an employer from (tdiscriminatgingj against any individualwith
   respectto (her)compensation,terms,conditions,orprivilegesofemployment,becauseofsuch
                                                  8

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    individual's...sex.'' 42U.S.C.j2000e-2(a)(1). Sinceanemployee'sworkenvironmentisa
    term or condition of em ploym ent, Title V 1I provides a cause of action for hostile w ork

    environment.EEOC v.R&R Ventures,244F.3d334,338(4th Cir.2001)(citing MeritorSav.
    Bank.FSB v.Vinson,477 U.S.57,73 (1986:. Tomake outsuch aclaim,afemaleplaintiff
    mustdemonstratethatçttheoffendingconduct(1)wasunwelcome,(2)wasbasedonhersex,(3)
    was sufGciently severe or pervasive to alter the conditions of her em ploym ent and create an

    abujive work environment,and (4)was imputable to heremployer.'' Ocheltree v.Scollon
   Prods..lnc.,335F.3d325,33l(4th Cir.2003)(enbanc). lnmovingforsummaryjudgmenton
   this claim ,ABC argues thatW heeler is unable to satisfy the third and fourth elem ents. Forthe

   reasonsthatfollow,how ever,thecourtisunpersuaded.

           To satisfy the third elem ent, W heeler m ust present sufficient evidence from which a

   reasonablejury couldfindthattheoffendingconductwassosevereorpervasiveasto alterthe
   conditions of her em ploym entand create an abusive orhostile atm osphere. di-fhis elem entofa

   hostilework environmentclaim hasboth subjectiveand objectiveparts.'' Freemanv.Dal-Tile
    Corp.,750 F.3d 413,421(4th Cir.2014)(internalquotation marksomitted). Wheelerççmust
   show that(she)did perceive,and areasonableperson would perceive,theenvironmentto be
   abusiveorhostile.''1d.(alteration inoriginal)(internalquotationmarksomitted).
           Atthis stage ofthe proceedings,A BC does notchallenge the sufficiency ofthe evidence

   with respectto the subjective portion of this elementand instead focuses on whetherthe
   harassmentwas objectively severe orpervasive. W ith respectto thiscomponent,the United
   StatèsCourtofAppealsfortheFourth Circuithasexplained asfollows:

                 W hether the environment is objectively hostile or abusive is
                 judged from the perspective of a reasonable person in the
                  plaintiffs position. Thatdeterm ination is m ade by looking ata1l
                  the circum stances, which may include the frequency of the
                  discrim inatory conduct; its severity; w hether it is physically
                  threatening or hum iliating, or a m ere offen'sive utterance; and
                                                  9

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                   whether it unreasonably interferes w ith the employee's work
                   perform ance. lt is not, and by its nature cannot be, a
                   m athem atically precise test.

    Boyer-taiberto v.Fontainebleau Corp.,786 F.3d 264,277 (4th Cir.2015)(en banc);see also
    Jenninzs v.Univ.of N.C.,482 F.3d 686,696 (4th Cir.2007) (sGW hether gender-oriented
    harassment amounts to actionable (severe or pervasive) discrimination depends on a
    constellation of surrounding circum stances, expectations, and relationships.           A l1 the

    circùmstancesareexamined,includingthepositionsand agesoftheharasserand victim,(andl
    whethertheharassmentwasfrequent,severe,humiliating,orphysicallythreateningr.j'')(internal
    quotationmarksomitted).
           A lthough viable hostile w ork environm ent claim s often involve repeated conduct,the

    Fourth Circuit has recognized that isolated incidents of harassm ent, if sufficiently serious,can

    amountto discriminatory changes in the terms and conditionj ofemployment. Bover-Liberto,

    786F.3d at277;seealso id.at280 (holdingthatareasonablejury could find thataparticular
    employee's çGtwo uses of the Gporch m onkey' epithet . . .were severe enough to engender a

    (taciallyqhostile work environmenf). The Courthas also explained that Etthe status of the
    harasser m ay be a signifcant factor'' in m easuring the severity of harassing conduct, since

    harassm ent perpetrated by a m anager or supervisor against a subordinate employee has a

    Sçparticularly threatening character.'' 1d.(citingBurlingtonlndus.,lnc.v.Ellerth,524U.S.742,
         (1998:. Ultimately, çiwhether lharassment was sufficiently severe or pervasive is
    quintessentially aquestionoffact.'''Hartsellv.DuplexProds..lnc.,123F.3d766,733(4thCir.
    1997)(quoting Paroline v.Unisys Corp.,879 F.2d 100,105 (4th Cir.1985:. (s-
                                                                             fhus,while
    summaryjudgmentisappropriate incaseswherethefactsare clearly insufficientto satisfy the
    standard,when there isa close question and Kreasonable m inds could differ'w hen weighting aIl




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    thefactsagainstthe law,then summary judgmentisinappropriate.'' Walkerv.Mod-u-Kraf
    Homes.LLC,775F.3d202,208(4thCir.2014)(quotingParoline,879F.2dat105).
               V iew ing the record in the light m ost favorable to W heeler,the courtconcludes that a

        reasonablejury could find thatChrisley'sbehaviorcreated an objectively hostile orabusive
        workenvironment. SeeOncalev.SundownerOffshoreServs.,523U.S.75,81(1998)(çç(T!he
        objectiveseverity ofharassmentshouldbejudgedfrom theperspectiveofareasonableperson
        intheplaintiffsposition,consideringallthecircumstances.'). Asrecounted above,Chrisley
        engaged in unw anted physical contact on m ultiple occasions w hen he and W heeler w orked

        together. On the fsrstoccasion,Chrisley cornered W heeler in a back room ,directed herto siton

        a desk,and proceeded to m assage W heeler's fingers,w hile moaning and breathing heavily. ln

        light of Chrisley's m anagerialposition and the fact that W heeler had to physically push past

        him in orderto exitthe room,a reasonablejury could find thatsuch conductwasnotonly
        sexualin nature,butphysically threatening or dem eaning. The sam e istrue forthe subsequent

        occasionson w hich Chrisley cornered W heelerin the store and m ade unwanted sexualadvances

        toNvard her.

               In addition to engaging in unw anted physicalcontact,Chrisley m ade comm ents about

        W heeler's attractiveness,both to W heeler and to custom ers w ho entered the Bonsack store.

        Chrisley also voiced his opinions as to the best sex positions, referenced sexually explicit

        literature,and licked hislips when W heelerw alked nearhim .A dditionally,Chrisley expressed
    '
        pleasure in allegedly being able to see W heeler'scleavage,and advised herthathe could tsw rite

        (hyr)up''butwouldnotsinceheenjoyedviewingtheareabetweenherbreasts.W heelerDep.
        133.
               ln light of the sexual nature of Chrisley's com m ents to W heeler, the instances of

        unw elcom e physical touching, and the fact that such conduct occurred w hile Chrisley was




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     serving in a m anagerialcapacity,the courtconcludes thatW heelerhasraised a triable issue as

     to w hether the harassm ent w as suftsciently severe or pervasive to alter the conditions of her

     em ploym ent and create an abusive or hostile atm osphere. ln arguing to the contrary,AB C

     attempts to distinguish W heeler's work environm ent from previous cases in w hich the Fourth

     Circuit has held that particular conduct w as sufficiently severe or pervasive to m ake out a

     sexualharassmentclaim.SeeABC'SBr.Supp.Mot.Summ.J.16(t:Thefactsinthiscaseare..
     .   in'starkcontrasttothoseinOkoli,Stewart,andBeardslev.'')(citingOkoliv.CityofBaltimore,
     648F.3d 216 (4th Cir.20l1);Stewartv.MTF Gamina Gm..Inc.,581F.App'x 245 (4thCir.
     2014);Beardslevv.Webb,30F.3d524(4thCir.1994:.However,boththeSupremeCourtand
     theFourth CircuithavemadeclearthatEGappalling conduct''alleged inpreviouscasesEEdoresl
     not m ark the boundary of w hat is actionable.'' H arris v.Forklift Svs..Inc.,510 U .S. 17,22

     (1993);seealso Walker,775 F.3d at209 (dcgW lhile ourcase 1aw hasnoted instanceswhere
     certain condgctwould satisfy a plaintiff'sburden on the Ssevere orpervasive'elem ent,we have

     notlim ited the applicable analysis only to instanceswhere those precise behaviorsare alleged to
     have occ'
             urred.''
                    ). Although thiscasemay bedifferentfrom Okoli,Stewart,and Beardslev in
     som e respects, the record does not perm it the court to rule, as a m atter of law, that the

     circum stances of W heeler's em ploym ent were insuffcient to constitute a hostile w ork

     environment. lnstead,the courtbelieves thatajury armed with Csrcjommon sense,and an
     appropriatesensitivitytosocialcontext''couldreasonablyconcludethatW heelerwassubjected
     to behaviorsoobjectivelyoffensiveastoaltertheconditionsofheremployment. Oncale,523
     U.S.at82.Accordingly,summaryjudgmentonthethirdelementisinappropriate.3

             3lnreaching thisdecision,thecourtdoesnotsuggestthatajuryshouldbelimitedto assessingwhether
    Chrisley'sbehaviortowardWheelercreatedahostileworkenvironment.A jurywouldalsobeentitledtoconsider
    otherevidencepotentially indicativeofsevereorpervasiveharassm ent,includingharassm entdirectedtowardsother
    women. SeeZiskiev.Mineta.547F.3d220,225 (4thCir.2008)(emphasizingthatRevidenceabouthow other
    employeesweretreated in thatsam eworkplacecan beprobativeofwhethertheenvironm entwasindeeda sexually
    hostileone,eveniftheplaintiffdidnotwitnesstheconductherself');seealsoSandovalv.Am.Bldc.Maint.Indus..
                                                       12

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            W ith respect to the fourth elem ent of W heeler's hostile work environm ent claim ,

     W heelerm ustestablish a basisforim posing liability on A BC. W hen a plaintifps claim isbased

     on the conduct of a co-worker,the em ployer is liable S'only if itw as negligent in controlling

     workingconditions-''Vancev.BallStateUniv.,570U.S.421,424(2013). When aplaintiff's
     claim is based on the conductofa supervisor,the employer is strictly liable ifthe harassm ent

     culm inated in a tangible em ploym ent action. Id. çiBut if no tangible employm ent action is

     taken,theemployermayescapeliability byestablishing,asanaffirmativedefense,that(1)the
     employerexercisedreasonablecaretopreventandcorrectany harassingbehaviorand (2)that
     the plaintiff unreasonably failed to take advantage of the preventative or corrective

     opportunitiesthattheemployerprovided.'' Id.(citingFaragherv.CityBocaRaton,524 U.S.
     775(1998)andBurlinctonlndus..lnc.v.Ellerth,524U.S.742(1998:.
            Under this framew ork, dsit is obviously im portant whether an alleged harasser is a

     Ssupervisor' or m erely a co-w orker.'' Id.at 430. ln V ance,the Suprem e Courtheld that a

     harasser qualifes as a supervisor, for pum oses of the em ployer's vicarious liability, if Ctthe

     em ployer has em pow ered that em ployee to take tangible em ploym ent actions against the

     victim .'' Id.at43l. An employee is so em pow ered when he is able ççto effecta <significant

     change in em ploym ent status, such as hiring, firing, failing to prom ote, reassignm ent with

     significantly differentresponsibilities,or a decision causing a significantchange in benefits.'''

     1d.(quoting Ellerth,524 U.S.at761). The Courtrejected a moreSsnebulous''definitionthat


    Inc... 572 F.
                3d 727,802 (8th Cir.2009)CW henjudging the severity and pervasivenessofworkplace sexual
    harassment,thiscourthasIong held harassm entdirected towardsotherfem aleemployeesisrelevantand mustbe
    considered.
              '').However,forpurposesofsummaryjudgment,thecourtconcludesthatWheeler'sevidenceregarding
    herown interactionsw ith Chrisley issufficientto createatriableissueoffactastothethirdelem ent.Accordingly,
    atthisstageoftheproceedings,thecourtfindsitunnecessarytoaddressABC'Sobjectionstotestimonydescribing
    incidentsofsexualharassm entorm isconductthatW heelerand herco-workersheard aboutfrom otheremployees.
    Thedefendantsarefreetorenew suchobjectionsinamotioninlimineorattrial.




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     would provide supervisory status to em ployees who merely have the ability to exercise

     discretion over another's daily w ork.         The Court also m ade clear, how ever, that an

     em ployee need not have the final say as to a tangible employm ent action in order to be

     copsidered a supelwisor. Instead,tçthe employee'sdecision may be Esubjectto approvalby
     highermanagement.'''Boyer-Liberto,786F.3dat278(quotingVance,570U.S.at437n.8).
           In this case,the parties dispute w hether Chrisley w as W heeler's supervisor for purposes

     ofvicarious liability. Based on the evidence presented,including Chrisley's ttEm ployee W ork

     Profile,''D kt.N o. 120-20, the coul'
                                         t believes that this presents a som ewhat close question.

     However,even ifthe courtw ere to conclude thatChrisley was not W heeler's supervisorunder

     Vance,ABC isnotentitledtosummaryjudgment.
           As indicated above, if the harasser is a co-w orker, Stthe employee m ust show that the

     employer was Enegligent in controlling working conditions'- that is,the employer dknew or

     should have known about the harassm ent and failed to take effective action to stop it.''

     Strothersv.CitvofLaurel,895F.3d 317,333(4th Cir.2018)(quotingVance,570U.S.at424;
     Ocheltree,335 F.3d at333-34). TheFourth Circuithasexplainedthatonceanemployerhas
     actualor constructive notice of the harassing conduct, (çit m ust respond w ith rem edialaction

     treasonably calculated to end the harassm ent.''' EEO C v.SunbeltRentals.lnc..521 F.3d 306,

     31?(4th Cir.2008)(quotingAmirmokriv.BaltimoreGas& Elec.Co.,60F.3d 1126,1131(4th
     Uir.1995$.itWhiletheadoptionofaneffectiveanti-harassmentpolicyisan importantfactorin
     determining whether(an employerqexercisedreasonablecare,thepolicy mustbeeffectivein
     orderto havem eaningfulvalùe.'' 1d.

           Applyingthesestandards,thecourtconcludesthatareasonablejurycouldfindthatABC
     had notice of the sexual harassm ent inflicted by Chrisley. The record reveals that W heeler   .



     rep'
        orted each incident to Jennifer Stutts, the m anager of the Bonsack store, as provided in

                                                  14


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     ABC'Sharassmentpolicy. See HarassmentPolicy 1 (CAn employee may choose to report
     allegations ofw orkplace harassm ent to anv agency,m anager,supervisor or D ivision D irector

     thattheyfeelcomfortablereportingto.'')(emphasisadded). lnmovingforsummaryjudgment,
     A BC em phasizes thatit is tEundisputed that W heeler did notreportthe 2014 incidentto A BC

     Hum an Resources or Patrick Cam pbell.'' Br.Supp.M .Sum m .J.20. W hile this m ay be true,

     W heelerw as notrequired to do so underthe harassm entpolicy. lnstead,Stutts and any other

     manager or supervisor to whom W heeler com plained had a Csduty to report'' W heeler's

     allegations. Harassm entPolicy 1. The factthatthey failed to do so,in violation of the policy,

     does notrenderA BC im m une from liability atthis stage oftheproceedings. See O cheltree,335
     1
     F.3dat334(W nemployercannotavoidTitleVIIliabilityforcoworkerharassmentbyadopting
     a <see no evil,hearno evil'strategy. Know ledge ofharassm entcan be imputed to an em ployer

     ifa Sreasonable (personj,intenton complying with Title VII,'would have lcnown aboutthe
     harassment.'')(citationomitted).
           ThecourtlikewiseconcludesthatareasonablejurycouldfindthatABC didnotrespond
     w ith reasonable corrective action. lt is undisputed that Chrisley w as not disciplined in 2014,

     follow ing the allegations of unwanted physicalcontact and sexual advances. lnstead, Stutts

     undertook efforts to preventW heeler and Chrisley from w orking together. W hile this enabled

     W heeler to avoid having contact w ith Chrisley for nearly two years, it did not correct the

     offending behaviororpreventitfrom recurring. lnstead,according to the evidence presented by
     W heeler Chrisley had inappropriate interactions w ith other w om en while on d'
                                                                                    uty, and he

     im m ediately engaged in sexually offensive conduct when he and W heeler w orked together

     again in 2016. A lthough the harassm entpolicy has been described as having ûçzero tolerance''

     for sexualharassm ent,Chrisley w as m erely counseled in 2016 after itw as determ ined that he

     vidlated thepolicy. CampbellDep.37,Dkt.No.120-2;Richardson Dep.40,Dkt.No.120-13.



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     ItwasnotuntilM ay of2017,afterhe sexually harassed a subordinate em ployee atthe store in

     Blacksburg,that ABC term inated Chrisley's employm ent. View ing the evidence in the light

     m ostfavorableto W heeler,the courtisunable to conclude thatABC'Sresponse w asçisufficient

     onthesefactstowarrantsummaryjudgment'' SunbeltRentals,521F.3dat320. Instead,the
     courtbelievesthata rationaljul'y could find thatABC failed to respondwith remedialaction
     reasonably calculatedto endtheharassment.1d.

           ln sum,thecourtconcludesthatarationaljurycouldfindthatW heelerwassubjectedto
     an objectively hostilework environment,andthatABC had knowledgeoftheharassmentand
     failed to respond in a reasonable fashion. A ccordingly,even assum ing that Chrisley was not

     W heeler's supervisor for purposes of vicarious liability, A BC is not entitled to sum m ary

     judgmentonthehostileworkenvironmentclaim.
           Il.    Retaliation

           W heeler also asserts a claim of retaliation in violation of Title Vl1. In addition to

    prohibiting discrim ination on the basis of a protected trait,Title V11 m akes itunlaw fulfor an

    employerto retaliate againstan employee EEbecause (the employeejhasopposed any practice
    madean unlawfulpracticeby thissubchapter,''orççbecause(theemployee)hasmadeacharge,
    testified,assisted,orparticipated in any m annerin an investigation,proceeding orhearing''under

    Titlç V11. 42 U.S.C.5 2000e-3(a). ln this case,Wheelerclaims thatABC terminated her
    em ploymentbecause she complained aboutChrisley's behavior,Gled a charge of discrim ination

    with the EEO C,and comm enced the instantaction underTitle Vl1.

           W hen there isno directevidence ofretaliation,a plaintiffm ay proceed underthe burden-

    shiftingframework setforth in McDonnellDouglasCorp.v.Green,411U.S.792(1973). See
    Pricev.Thompson,380F.3d 209,212(4thCir.2004).Thisframeworkrequirestheplaintiffto
    initiallyestablish,byapreponderanceoftheevidence:(1)thatsheengagedinprotectedactivity;
                                                  16


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    (2) thather employer took a materially adverse action against her;and (3) thata causal
    connection existed between the protected activity and the m aterially adverse action. EEO C v.

    Navy Fed.CreditUnion,424 F.3d 397,405-06 (4th Cir.2005). Onceaplaintiffestablishesa
    prim a facie case,the burden shifts to the employer to articulate a legitim ate, nonretaliatory

    reason forthe adverse action. See H illv.Lockheed M artin Logistics M gmt..Inc.,354 F.3d 277,

    285 (4th Cir.2004)(en banc). Ctlftheemployermakesthisshowing,theburden shiftsbackto
    the plaintiff to rebut the employer's evidence by dem onstrating thatthe em ployer's purported

    nonretaliatory reasons dw ere not itstrue reasons,butw ere a pretextfordiscrim ination.''' Foster

    v.Univ.ofM aryland-EasternShore,787F.3d243,250(4thCir.2015)(quotingHill,354F.3dat
    285).
            In thiscase,even assum ing thatW heelercould establish a prima facie case ofretaliation,

    ABC has articulated a legitim ate,nonretaliatory reason forterm inating herem ploym ent,nam ely

    the fact that she w as convicted of shoplifting after being hired to w ork as a part-tim e sales

    associate. Because A BC has clearly m et its burden of proffering a perm issible reason for its

    tenuination decision, W heeler m ust show that the asserted reason is pretext for retaliation.

    W hile W heeler advances several argum ents in an attempt to establish pretext, the court

    concludesthatshe hasfailed to create a genuine issue ofm aterialfactw ith respectto thisissue.

            W heeler lrst argues that she Stdid not steal anything,''that she has no recollection of

    pleading guilty to the charged offense,and that ABC should have given heran opportunity to

    respond before term inating heremployment. Pl.'s Br.in Opp'n 33-34,Dkt.No.33;see also

    WheelerDep.l56CTlt'smyunderstandingthatIplednocontest').Theseargumentsareclearly
    insufticientto satisfy the plaintiff's burden. The Fourth Circuithas tErepeatedly observed that it

    is nota court's province to decide w hether an em ployer's reason for term inating an employee

    w as'w ise,fair,or even correct,ultim ately so long as it truly w as the reason forthe em ployee's




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    termination.''W alker,775F.3dat211(internalquotationmarksandalterationsomitted).Thus,
    even if W heeler'could establish that records from the General D istrict Court for the City of

    Roanoke are incorrect,such a show ing isnotsufficientto dem onstrate pretext. N or is W heeler's

    assertion thatA BC'S investigation w as inadequate. See.e.R.,Cupples v.Am san.LLC,282 F.

    App'x 205,210 (4th Cir.2008) (tilplaintiffl makes much of his criticism that Amsan's
    investigation into his m isconductwas either inadequate or overly aggressive. Butfocusing on

    the quality ofinternalinvestigationsmissesthe point. A federalcourtSdoesnotsitasa kind of

    super-personnel departm ent weighing the prudence of em ploym ent decisions m ade by firm s

    chargedwithemploymentdiscrimination.''')(quotingDelarnettev.Cornina,Inc.,133F.3d293,
    299'(4thCir.1998:.
           W heeleralso contendsthatçûchrisley w as by al1accountsa terrible em ployee''and thata

    jury could findpretextbased on thefactthathewasnotreprimanded forengaging in various
    form sofm isconduct.P1.'sBr.Opp'n Summ.J.34-35.Thisargumentisalso unpersuasive.1dTo

    be sure, evidence that an em ployer treated sim ilarly situated individuals differently can be

    evidence ofpretext.'' W alker,775 F.3d at211. H ow ever,a plaintiffm ustshow thatshe and an

    alleged com paratorw ere dssim ilarly situated ...in al1relevant respects a rigorous standard at

    thepretextstage.''Torcersonv.Cit'
                                    vofRochester,643F.3d 1031,1051(8thCir.2011)(internal
    quotationmarksomitted);seealsoOdom v.Int'lPaperCo.,652 F.Supp.2d671,692 (E.D.Va.
    2009)(same).W hileWheeler'sbriefclearlypaintsChrisleyinanegativelight,shedoesnotcite
    to any evidence indicating that Chrisley w as ever charged w ith or convicted of a crim e.

    M oreover,the record reveals thatat leasteightother individuals have been term inated by A BC

    after being convicted of a felony or m isdem eanor offense. Thus,W heeler's reliance on the

    treatm entof other em ployees does notdem onstrate pretext. <T o the contrary,the record on this




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    pointsupports(ABC's)legitlmate,nonrelnllatog reason forltsdecisiom'' W alker.775F.3dat
    212.

           Flnally,the courthas no reason to doubtthatW heelerwas Ra greatARC employee.''
                                             .




    P1.'sBr.Opp'n Sllmm .J.36. Underexlelng precedent,however,Ritisthe percepion ofthe

    decision msker which ls relevant, not the self-assessment of the plainfE g' Evsnn v.

    TechnologiesApplicafons& Sem Co.,80F.3d964,960-61(4th Cir.1996). $çS1m11ar1y,that
    plaintie scoworkersmayhaveioughtthatshedidagoodjob,orthatshedidnotdeservetobe
    dschsrged, is close to irrelevanf' and does not glve rise to a Z able inference of pretext

    Delarnette.133F.3dat299(lntemalquotatlonsandalteraionsomitted).
           Forthese reasons,the COU/ concludesthatthe record is devoid of slpfsclentevldence

    âom wMch a reasonablejury could fmdthatWheelerwastermlnated becausesheengaged in
    actikity protected by Title V1I. Accore gly,ABC ls entxed to snmmqryjudn enton the

    retaliafon clnlm asseledin Count1H.

                                           Conclusion

           Forthe reasonsstatedaABC. 'smofon fors           judgmentwlllbegantedin partand
    denied ln part n e case wlllproceed to 11a1on n eeler's hosile work envlronm entclnlm

    againstABC andherclm'm Aofassaultandbatteg agnlnqtChdsley.

           The Clerk isdirected to send copiesofthlsmemorandum opH on andtheaccompanying

    orderto allcolmqelofrecord.
           DAw o:'rbis*       daynfFebrtIav,zolg.



                                                 Sed orU nited St tesD lsG ctJudge




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